 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 1 of 59 PageID #:41536




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NOTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

DANIEL ANDERSEN,                           )
                                           )     No. 16 C 1963
            Plaintiff,                     )
                                           )     Judge Virginia M. Kendall
     v.                                    )
                                           )
THE CITY OF CHICAGO, et al.,               )
                                           )
            Defendants.                    )



                           JURY INSTRUCTIONS
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 2 of 59 PageID #:41537




       Members of the jury, you have seen and heard all the evidence and arguments

of the attorneys. Now I will instruct you on the law.

       You have two duties as a jury. Your first duty is to decide the facts from the

evidence in the case. This is your job and yours alone.

       Your second duty is to apply the law that I give you to the facts. You must

follow these instructions, even if you disagree with them. Each of the instructions is

important, and you must follow all of them.

       Perform these duties fairly and impartially. Do not allow sympathy, prejudice,

fear, or public opinion to influence you. You should not be influenced by any person’s

race, color, religion, national ancestry, or sex.

       Nothing I say now, and nothing I said or did during the trial, is meant to

indicate any opinion on my part about what the facts are or about what your verdict

should be.




                                            1
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 3 of 59 PageID #:41538




      In this case, Defendants Richard Bedran, James Higgins, John Olson, James

Bednarkiewicz, and Michael Riley were governmental officials while Plaintiff

Andersen is a private citizen. All parties are equal before the law. All parties in this

case are entitled to the same fair consideration. You are not to afford any more

credibility to statements made by a witness or a party because he is a governmental

official, and you are not to afford any less credibility to statements made by a witness

or a party because he is a private citizen.




                                              2
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 4 of 59 PageID #:41539




      Daniel McWeeny and Paul Nielsen are no longer defendants in this case. You

should not consider any claims against Daniel McWeeny and Paul Nielsen. Do not

speculate on the reasons. Your focus must be on the remaining parties.




                                        3
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 5 of 59 PageID #:41540




      Each party is entitled to have the case decided solely on the evidence that

applies to that party. You must consider the evidence concerning each individual

Defendant only in the case against that individual Defendant. You must not consider

it against any other co-Defendant.




                                        4
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 6 of 59 PageID #:41541




      The evidence consists of the testimony of the witnesses, the exhibits admitted

in evidence, and stipulations.

      A stipulation is an agreement between both sides that certain facts are true or

that a person would have given certain testimony.




                                         5
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 7 of 59 PageID #:41542




The parties have stipulated, or agreed, that:

        1.    On the evening of January 19, 1980, Levi Trujilo and Michael Castro

              found Cathy Trunko stabbed near 4936 S. Paulina Street, Chicago,

              Illinois. Mr. Castro called 911.

        2.    Cathy Trunko was transported to Holy Cross Hospital and pronounced

              dead on arrival.

        3.    Craig Cegielski was alive when this lawsuit was filed in February 2016

              and subsequently passed away in October 2017.

        4.    At the time this lawsuit was filed in February 2016, Thaddeus (Ted)

              Melko, John Herman, and Richard Rochowicz were all deceased.

        5.    At the time of this trial, Defendant Richard Bedran and Witness Mary

              Andersen were medically unavailable.

        You must now treat these facts as having been proved for the purposes of this

case.




                                           6
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 8 of 59 PageID #:41543




       You may have heard the phrases “direct evidence” and “circumstantial

evidence.” Direct evidence is proof that does not require an inference, such as the

testimony of someone       who claims to have personal knowledge of a fact.

Circumstantial evidence is proof of a fact, or a series of facts, that tends to show that

some other fact is true.

       As an example, direct evidence that it is raining is testimony from a witness

who says, “I was outside a minute ago and I saw it raining.” Circumstantial

evidence that it is raining is the observation of someone entering a room carrying a

wet umbrella.

      The law makes no distinction between the weight to be given to either direct

or circumstantial evidence. You should decide how much weight to give to any

evidence. In reaching your verdict, you should consider all the evidence in the

case, including the circumstantial evidence.




                                           7
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 9 of 59 PageID #:41544




      You must decide whether the testimony of each of the witnesses is truthful

and accurate, in part, in whole, or not at all. You also must decide what weight, if

any, you give to the testimony of each witness.

      In evaluating the testimony of any witness, including any party to the case, you

may consider, among other things:

      •      The ability and opportunity the witness had to see, hear, or know the

             things that the witness testified about;

      •      The witness’s memory;

      •      The witness’s age;

      •      Any interest, bias, or prejudice the witness may have;

      •      The witness’s intelligence;

      •      The manner of the witness while testifying;

      •      And the reasonableness of the witness’s testimony in light of all the

             evidence in the case.




                                           8
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 10 of 59 PageID #:41545




       You may consider statements given by a Party or a Witness under oath before

trial as evidence of the truth of what he said in the earlier statements, as well as

in deciding what weight to give his testimony.

       With respect to other witnesses, the law is different. If you decide that, before

the trial, one of these witnesses made a statement not under oath or acted in a

manner that is inconsistent with his testimony here in court, you may consider

the earlier statement or conduct only in deciding whether his testimony here in

court was true and what weight to give to his testimony here in court.

      In considering a prior inconsistent statement[s] or conduct, you should

consider whether it was simply an innocent error or an intentional falsehood and

whether it concerns an important fact or an unimportant detail.




                                           9
Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 11 of 59 PageID #:41546




      You may find the testimony of one witness or a few witnesses more persuasive

than the testimony of a larger number. You need not accept the testimony of the

larger number of witnesses.




                                        10
Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 12 of 59 PageID #:41547




     It is proper for a lawyer to meet with any witness in preparation for trial.




                                        11
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 13 of 59 PageID #:41548




      The law does not require any party to call as a witness every person who might

have knowledge of the facts related to this trial. Similarly, the law does not require

any party to present as exhibits all papers and things mentioned during this trial.

      You should not speculate as to why someone you have heard about during the

trial has not appeared in court.




                                         12
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 14 of 59 PageID #:41549




      You have heard witnesses give opinions about matters requiring special

knowledge or skill. You should judge this testimony in the same way that you judge

the testimony of any other witness. The fact that such person has given an opinion does

not mean that you are required to accept it. Give the testimony whatever weight you

think it deserves, considering the reasons given for the opinion, the witness’s

qualifications, and all the other evidence in the case.




                                           13
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 15 of 59 PageID #:41550




      During the trial, certain testimony was presented to you by the reading of

depositions and by video. You should give this testimony the same consideration you

would give it had the witnesses appeared and testified in court.




                                         14
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 16 of 59 PageID #:41551




      Certain diagrams, sketches, and charts have been shown to you.           Those

materials are used for convenience and to help explain the facts of the case. They are

not themselves evidence or proof of any facts.




                                         15
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 17 of 59 PageID #:41552




      You will recall that during the course of this trial I instructed you that I

admitted certain evidence for a limited purpose. You must consider this evidence

only for the limited purpose for which it was admitted.




                                         16
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 18 of 59 PageID #:41553




      You have heard evidence that individuals have been convicted of a crime. You

may consider this evidence only in deciding whether that individual’s testimony is

truthful in whole, in part, or not at all. You may not consider this evidence for any

other purpose.




                                         17
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 19 of 59 PageID #:41554




      You have heard evidence that Plaintiff Andersen was awarded a Certificate of

Innocence in the State court. The State court’s decision to issue a Certificate of

Innocence is not binding on you in this case.

      The State court judge decided different issues than those before you when

issuing the Certificate of Innocence. The State court judge was not asked to, nor did

he decide, the issue of whether Plaintiff Andersen’s constitutional rights were

violated or whether the Defendants in this case engaged in any misconduct under

state or federal law. These are issues for you alone to decide. You have listened to

and heard all of the evidence in this case and are to decide this case based on the

evidence you heard in this case and this case alone.




                                          18
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 20 of 59 PageID #:41555




      In determining whether any fact has been proved, you should consider all of

the evidence bearing on the question regardless of who introduced it.




                                         19
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 21 of 59 PageID #:41556




      You should use common sense in weighing the evidence and consider the

evidence in light of your own observations in life.




                                           20
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 22 of 59 PageID #:41557




        In our lives, we often look at one fact and conclude from it that another fact

exists. In law we call this “inference.” A jury is allowed to make reasonable inferences.

Any inference you make must be reasonable and must be based on the evidence in the

case.




                                           21
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 23 of 59 PageID #:41558




      Certain things are not to be considered as evidence. I will list them for you:

      First, if I told you to disregard any testimony or exhibits or struck any

testimony or exhibits from the record, such testimony or exhibits are not evidence and

must not be considered.

      Second, anything that you may have seen or heard outside the courtroom is

not evidence and must be entirely disregarded.        This includes any press, radio,

Internet, or television reports you may have seen or heard. Such reports are not

evidence and your verdict must not be influenced in any way by such publicity.

      Third, questions and objections or comments by the lawyers are not evidence.

Lawyers have a duty to object when they believe a question is improper. You should

not be influenced by any objection, and you should not infer from my rulings that I

have any view as to how you should decide the case.

      Fourth, the lawyers’ opening statements and closing arguments to you are not

evidence. Their purpose is to discuss the issues and the evidence. If the evidence as

you remember it differs from what the lawyers said, your memory is what counts.




                                         22
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 24 of 59 PageID #:41559




      Any notes you have taken during this trial are only aids to your memory. The

notes are not evidence.    If you have not taken notes, you should rely on your

independent recollection of the evidence and not be unduly influenced by the notes of

other jurors. Notes are not entitled to any greater weight than the recollections or

impressions of each juror about the testimony.




                                         23
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 25 of 59 PageID #:41560




         You heard evidence in this case of information allegedly provided to Officer

John Stout on or around January 21, 1980, by Detective Bedran and/or Detective

Rochowicz concerning Robert LaGace. You may not consider this information as

evidence that the information itself is true. You may consider this evidence for the

purpose of establishing whether or not the information was communicated by these

Detectives to Officer Stout.

         You may not consider this information in determining the issue of probable

cause.

         Additionally, no police officer had a legal obligation to ensure that the results

or interpretation of any polygraph examination of Mr. LaGace was provided to the

Cook County State’s Attorney or to Plaintiff Andersen’s criminal defense attorney

because such evidence is not admissible in court. Failure to turn over polygraph test

results in and of itself cannot constitute a violation of Plaintiff Andersen’s

constitutional right to a fair trial.




                                             24
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 26 of 59 PageID #:41561




         You have heard evidence in this case pertaining to the maintenance of “street

files” or “running files” used by members of the Chicago Police Department and a

policy change subsequent to the investigation at issue in this case regarding those

files.   You may not consider the subsequent policy change as evidence of any

wrongdoing or culpable conduct of any of the Defendants in this case.




                                           25
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 27 of 59 PageID #:41562




      The Plaintiff in this case is Daniel Andersen. I will refer to him as the Plaintiff.

The Defendants in this case are: Richard Bedran, James Higgins, John Olson, James

Bednarkiewicz, and Michael Riley, who are retired Chicago police officers. I will refer

to them as the Defendants.

      Plaintiff Andersen has six claims against Defendants.

      1.     Plaintiff   Andersen    claims      that   the   Defendants   violated   his

             constitutional right to be free from self-incrimination by coercing him

             into making a false confession that was used against him at his criminal

             trial in violation of his right to a fair trial as guaranteed by the

             Fourteenth Amendment of the United States Constitution.

      2.     Plaintiff   Andersen    claims      that   the   Defendants   violated   his

             constitutional right to a fair trial by suppressing exculpatory evidence

             that was material in his criminal case and/or by fabricating material

             evidence that was used against him at his criminal trial in violation of

             the Fifth and Fourteenth Amendments of the United States

             Constitution.

      3.     Plaintiff Andersen claims that the Defendants conspired among

             themselves to deprive him of his aforementioned constitutional rights.

      4.     Plaintiff Andersen claims that the Defendants failed to intervene to

             prevent the violations of his constitutional rights.

      5.     Plaintiff Andersen claims that the Defendants maliciously prosecuted

             him in violation of Illinois law.



                                           26
Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 28 of 59 PageID #:41563




     6.    Plaintiff Andersen claims that the Defendants’ actions constituted

           intentional infliction of emotional distress in violation of Illinois law.

     Defendants deny each of Plaintiff Andersen’s claims.




                                         27
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 29 of 59 PageID #:41564




       You must give separate consideration to each claim and each party in this case.

Although there are five Defendants, it does not follow that if one is liable, any of the

others is also liable.

       In considering a claim against a Defendant, you must not consider evidence

admitted only against other Defendants or only as to other claims.




                                          28
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 30 of 59 PageID #:41565




      Plaintiff Andersen claims that Defendant James Higgins violated his

constitutional right against self-incrimination by improperly coercing him to give a

confession.

      To succeed on this claim, Plaintiff Andersen must prove each of the following

four things by a preponderance of the evidence:

      1.      That Plaintiff Andersen gave a confession.

      2.      That this confession was not made by Plaintiff Andersen voluntarily but

              rather was made involuntarily as a result of coercion by the Defendant

              you are considering.

      3.      The confession was used against Plaintiff Andersen during his criminal

              case.

      4.      Plaintiff Andersen was damaged as a result.

      If you find that Plaintiff Andersen has proved each of these four things by a

preponderance of the evidence as to Defendant Higgins, then you should find for

Plaintiff Andersen on this claim, and against Defendant Higgins and go on to consider

the question of damages.

      If, on the other hand, you find that Plaintiff Andersen has failed to prove any

of these things by a preponderance of the evidence against Defendant Higgins, then

you should find for Defendant Higgins, and not consider the question of damages as

to Defendant Higgins on this claim.




                                         29
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 31 of 59 PageID #:41566




       When I say a particular party must prove something by “a preponderance of

the evidence,” or when I use the expression “if you find,” or “if you decide,” this is what I

mean: When you have considered all the evidence in the case, you must be persuaded

that it is more probably true than not true.




                                             30
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 32 of 59 PageID #:41567




      Plaintiff must prove by a preponderance of the evidence that each Defendant

was personally involved in the conduct that Plaintiff complains about for the claim

you are considering against that Defendant.




                                        31
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 33 of 59 PageID #:41568




      A confession is voluntary if, in the totality of the circumstances, it is the

product of a rational intellect and free will and not the result of physical abuse,

psychological intimidation, or deceptive interrogation tactics which have overcome a

person’s free will and ability to make a rational choice.

      Evaluating the totality of the circumstances is determined based on the facts

of each case with no bright line rules. It requires you to consider the characteristics

of the Plaintiff that were both known or should have been known to the Defendant.

You should also consider the tactics used by the Defendant during Plaintiff’s custodial

interrogation.

      The various factors you may consider include, but are not limited to, Plaintiff’s

age, mental acuity, intoxication, illness, or sleep deprivation. You may consider the

length and time of day of the interrogation. You may consider whether Plaintiff did

or did not have the ability to communicate with others during his custody.

      You may consider the tactics the Defendant either did or did not use during

their questioning, including deceit, promises of leniency, threats of harm, or physical

or psychological abuse. No one factor is determinative. Specific methods of

interrogation, including the use of deceit, engaging in accusatory questioning, making

false or misleading statements about evidence of a person’s guilt, posing as a friend,

and making statements to such person about the potential legal consequences of the

crime being investigated, are not in and of themselves prohibited unless if taken

together with the totality of circumstances they result in overcoming a person’s free

will and ability to make a rational choice.



                                          32
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 34 of 59 PageID #:41569




      Plaintiff Andersen claims that Defendants Richard Bedran, James Higgins,

John Olson, and James Bednarkiewicz violated his constitutional right to a fair trial.

Plaintiff Andersen can succeed on this claim one of two ways: by proving Defendants

failed to disclose exculpatory or impeachment evidence or by proving Defendants

fabricated evidence that was used to convict him in a criminal case. To succeed on

this claim by proving Defendants failed to disclose exculpatory or impeachment

evidence, Plaintiff Andersen must prove each of the following three things by a

preponderance of the evidence:

      1.     The Defendant knowingly concealed exculpatory or impeachment

             evidence from the prosecutor, and the evidence was not otherwise

             available to Plaintiff Andersen, through the exercise of reasonable

             diligence, to make use of at his criminal trial.

      2.     The evidence was material.

      3.     Plaintiff Andersen was injured as a result.

To succeed on this claim by proving Defendants fabricated evidence, Plaintiff

Andersen must prove each of the following three things by a preponderance of the

evidence:

      1.     The Defendant knowingly fabricated or participated in the fabrication

             of evidence that was introduced against Plaintiff Andersen at his

             criminal trial.

      2.     The evidence was material.

      3.     Plaintiff Andersen was injured as a result.



                                          33
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 35 of 59 PageID #:41570




       Exculpatory evidence is evidence that tends to show that the accused is not

guilty of a crime.

       Impeachment evidence is evidence that would have made the jury at the

criminal trial less likely to believe a witness who testified against the accused at the

criminal trial.

       Exculpatory evidence or impeachment evidence is “material” if there is a

reasonable likelihood that the suppressed evidence could have affected the judgment

of the jury.

       Fabricated evidence is “material” if there is a reasonable likelihood that the

false testimony could have affected the judgment of the jury.

       If you find that Plaintiff Andersen has proved, by a preponderance of the

evidence, that the Defendant you are considering violated Plaintiff Andersen’s right

to a fair trial either by failing to disclose exculpatory or impeachment evidence or by

fabricating evidence, then you should find for Plaintiff Andersen on this claim as to

the Defendant you are considering, and go on to consider the question of damages as

to that Defendant.

       If, on the other hand, you find that Plaintiff Andersen has failed to prove, by a

preponderance of the evidence, that the Defendant you are considering violated

Plaintiff Andersen’s right to a fair trial either by failing to disclose exculpatory or

impeachment evidence or by fabricating evidence, then you should find for that

Defendant, and you will not consider the question of damages on this claim as to that

Defendant.



                                          34
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 36 of 59 PageID #:41571




       Plaintiff Andersen claims that Defendants Richard Bedran, James Higgins,

John Olson, James Bednarkiewicz, and Michael Riley conspired to deprive him of his

constitutional right to be free of coercive interrogation and/or conspired to deprive

him of his constitutional right to a fair trial by failing to disclose exculpatory evidence,

by failing to disclose impeachment evidence, and/or by fabricating evidence that was

used to convict him in a criminal case. A conspiracy is a combination of two or more

persons acting together to commit an unlawful act. The principal element of a

conspiracy is an agreement to accomplish an unlawful purpose or to accomplish a

lawful purpose by unlawful means.

       To succeed on this claim, Plaintiff Andersen must prove each of the following

four things by a preponderance of the evidence as to the particular Defendant you are

considering:

       1.      Plaintiff Andersen must prove there was an agreement between two or

               more persons to:

               a.    Coercively interrogate him; or

               b.    Fail to disclose exculpatory evidence; or

               c.    Fail to disclose impeachment evidence; or

               d.    Fabricate evidence.

               Plaintiff Andersen must prove that the participants shared this common

               purpose. He does not have to prove there was a formal or express

               agreement or plan in which all involved met together and worked out

               the details. He also does not have to prove that each participant knew



                                            35
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 37 of 59 PageID #:41572




            all the details of the conspiratorial plan or the identity of all the

            participants.

      2.    The Defendant knowingly became a member of the conspiracy with the

            intention to carry out the conspiracy.

      3.    One or more of the conspirators committed an act in an effort to carry

            out the conspiracy.

      4.    As a result, Plaintiff Andersen’s right to a fair trial and/or his right to

            be free of a coercive interrogation was/were violated as I have already

            defined for you in the instructions for these claims.

      If you find that Plaintiff Andersen has proved each of these four things as to

the Defendant you are considering by a preponderance of the evidence, then you

should find for Plaintiff Andersen on this claim as to the Defendant you are

considering, and go on to consider the question of damages as to that Defendant.

      If, on the other hand, you find that Plaintiff Andersen has failed to prove any

of these four things by a preponderance of the evidence as to the Defendant you are

considering, then you should find for that Defendant, and you will not consider the

question of damages on this claim as to that Defendant.




                                         36
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 38 of 59 PageID #:41573




      Plaintiff Andersen claims that Defendants Richard Bedran, James Higgins,

John Olson, James Bednarkiewicz, and Michael Riley failed to intervene to prevent

the violations of his right to a fair trial and/or his right to be free of a coercive

interrogation.

      To succeed on his failure to intervene claim, Plaintiff Andersen must prove

each of the following five things by a preponderance of the evidence:

      1.     That Plaintiff Andersen’s right to a fair trial and/or his right to be free

             of a coercive interrogation was/were violated by one or more of the

             Defendants.

      2.     That the Defendant you are considering knew that one or more of the

             other Defendants violated Plaintiff Andersen’s right to a fair trial and/or

             his right to be free of a coercive interrogation.

      3.     That the Defendant you are considering had a realistic opportunity to

             stop the violation of Plaintiff Andersen’s right to a fair trial and/or his

             right to be free of a coercive interrogation.

      4.     That the Defendant you are considering did not take reasonable steps to

             stop the violation of Plaintiff Andersen’s right to a fair trial and/or his

             right to be free of a coercive interrogation, despite having an opportunity

             to do so.

      5.     As a result, Plaintiff Andersen’s right to a fair trial and/or his right to

             be free of a coercive interrogation was/were violated as defined in one of

             the earlier claims.



                                           37
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 39 of 59 PageID #:41574




      If you find that Plaintiff Andersen has proved each of these five things as to

the Defendant you are considering by a preponderance of the evidence, then you

should find for Plaintiff Andersen on this claim as to the Defendant you are

considering, and go on to consider the question of damages as to that Defendant.

      If, on the other hand, you find that Plaintiff Andersen has failed to prove any

of these five things by a preponderance of the evidence as to the Defendant you are

considering, then you should find for that Defendant, and you will not consider the

question of damages on this claim as to that Defendant.




                                         38
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 40 of 59 PageID #:41575




      Plaintiff Andersen claims that Defendants James Higgins and James

Bednarkiewicz maliciously prosecuted him in violation of Illinois state law. To succeed

on this claim, Plaintiff Andersen must prove each of the following five things by a

preponderance of the evidence:

      1.     That the relevant Defendant caused the commencement or continuation

             of a criminal proceeding against Plaintiff Andersen.

      2.     The criminal proceedings were terminated in Plaintiff Andersen’s favor

             and in a manner indicative of innocence.

      3.     There was no probable cause to prosecute Plaintiff Andersen for the

             accused crime.

      4.     That the relevant Defendant acted with malice in bringing the

             prosecution.

      5.     Plaintiff Andersen suffered damages as a result thereof.

      Plaintiff Andersen claims that Defendants Higgins and Bednarkiewicz

maliciously prosecuted him for murder and attempted rape.

      If you find that Plaintiff Andersen has proved each of these five things as to

the Defendant you are considering by a preponderance of the evidence, then you

should find for Plaintiff Andersen on this claim as to the Defendant you are

considering, and go on to consider the question of damages as to that Defendant.

      If, on the other hand, you find that Plaintiff Andersen has failed to prove any

of these five things by a preponderance of the evidence as to the Defendant you are




                                          39
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 41 of 59 PageID #:41576




considering, then you should find for that Defendant, and you will not consider the

question of damages on this claim as to that Defendant.




                                        40
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 42 of 59 PageID #:41577




      In order for a Defendant to have “commenced or continued” the prosecution,

the Defendant you are considering must have either initiated the criminal proceeding

or his participation in it must have been of so active and positive a character as to

amount to advice and cooperation with the one initiating or continuing the proceeding

such that the presumption of prosecutorial independence can be overcome. In making

our determination, you may consider:

      •      Active and positive participation that amounts to advice and cooperation

             with a prosecutor;

      •      Improperly exerting pressure on a prosecutor;

      •      Knowingly providing misinformation to a prosecutor;

      •      Concealing exculpatory evidence from a prosecutor; or

      •      Other wrongful or bad-faith conduct instrumental in the commencement

             or continuation of the criminal proceeding.




                                         41
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 43 of 59 PageID #:41578




      For purposes of the malicious prosecution claim, probable cause exists if a

prudent person would have believed that Plaintiff Andersen committed the offense of

murder or attempted rape for which he was charged. In making this decision, you

should consider what the Defendant or Defendants knew and what reasonably

trustworthy information the Defendant or Defendants had received.




                                        42
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 44 of 59 PageID #:41579




      Malice is the intent, without justification, to commit a wrongful act. In order

to find malice, you must find that the Defendant you are considering commenced or

continued the criminal proceeding against Plaintiff Andersen with any motive other

than that of bringing him to justice. Malice does not necessarily mean personal ill-

will, spite, or hatred toward the Plaintiff Andersen.

      Malice may be inferred from the absence of probable cause if the circumstances

that surrounded the start of the criminal proceeding are not consistent with good

faith, and if the absence of probable cause has been proven by a preponderance of the

evidence. Malice may not be inferred where probable cause exists.




                                          43
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 45 of 59 PageID #:41580




        In order to determine Plaintiff Andersen’s malicious prosecution claim, you must

decide whether there was probable cause to believe Plaintiff Andersen had committed

the offenses of “First Degree Murder” and “Attempted Rape” against Cathy Trunko.

        Under Illinois law, a person commits the crime of First Degree Murder when he

kills an individual without lawful justification and in performing the acts which causes

the death he knows that such acts create a strong probability of death or of great bodily

harm.

        Under Illinois law, a person commits the crime of Attempted Rape when a person

attempts to have sexual intercourse with another by force and against his or her will.




                                           44
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 46 of 59 PageID #:41581




      Plaintiff Andersen claims that Defendants Richard Bedran, James Higgins,

John Olson, James Bednarkiewicz, and Michael Riley intentionally inflicted emotional

distress upon him in violation of Illinois State law.

      In order to prove that a Defendant intentionally inflicted emotional distress on

him, Plaintiff Andersen must prove each of the following three things by a

preponderance of the evidence against the Defendant you are considering:

      1.     Defendant’s conduct was extreme and outrageous.

      2.     Defendant either intended his conduct to inflict severe emotional distress

             or knew there was a high probability that his conduct would cause severe

             emotional distress.

      3.     Defendant’s conduct in fact caused severe emotional distress.

      If you find that Plaintiff Andersen has proved each of these three things as to

the Defendant you are considering by a preponderance of the evidence, then you

should find for Plaintiff Andersen on this claim as to the Defendant you are

considering, and go on to consider the question of damages as to that Defendant.

      If, on the other hand, you find that Plaintiff Andersen has failed to prove any

of these three things by a preponderance of the evidence as to the Defendant you are

considering, then you should find for that Defendant, and you will not consider the

question of damages on this claim as to that Defendant.




                                            45
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 47 of 59 PageID #:41582




      By “extreme and outrageous conduct” I mean conduct that, under the

circumstances, extends beyond the bounds of human decency and is considered

intolerable in a civilized community. A pattern, course, or accumulation of acts can

make an individual’s conduct extreme, even if one instance of such behavior might

not be.

      In determining whether conduct is extreme and outrageous, you may consider

the following factors: the degree of power or authority which Defendants had over

Plaintiff Andersen, whether Defendants reasonably believed that their conduct had

a legitimate objective; and whether Plaintiff Andersen was particularly susceptible

to emotional distress because of some mental condition or state.




                                         46
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 48 of 59 PageID #:41583




      In these instructions, you have been asked whether of the Defendants’ actions

caused the injury. This question does not ask about “the cause” but rather “a cause”

because an injury may have more than one cause. Someone’s act caused the injury if

it was a substantial factor in producing the injury. An injury may be caused by one

person’s act or by the combined acts of two or more people.

      It need not be the only cause, nor the last or nearest cause. It is sufficient if it

combines with another cause resulting in the injury.




                                           47
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 49 of 59 PageID #:41584




      If you find in favor of the Plaintiff Andersen on any of his claims, then you

must determine what amount of damages, if any, Plaintiff Andersen is entitled to

recover.

      If you find in favor of the Defendants on all of the Plaintiff Andersen’s claims,

then you will not consider the question of damages.




                                          48
Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 50 of 59 PageID #:41585




      In considering the damages to award, if any, you may not consider any lost

wages of the plaintiff or any loss of impairment of any familial relations between

Plaintiff Andersen and any family members.




                                       49
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 51 of 59 PageID #:41586




      If you find in favor of Plaintiff Andersen on one or more of his claims, then you

must determine the amount of money that will fairly compensate Plaintiff Andersen

for any injury that you find he sustained and is reasonably certain to sustain in the

future as a direct result of the violation of his rights guaranteed by the U.S.

Constitution or Illinois state law.

      Plaintiff Andersen must prove his damages by a preponderance of the evidence.

Your award must be based on evidence and not speculation or guesswork. This does

not mean, however, that compensatory damages are restricted to the actual loss of

money; they include both the physical and mental aspects of injury, even if they are

not easy to measure.

      You should consider the following types of compensatory damages, and no

others:

      •      The physical and emotional pain and suffering that Plaintiff Andersen

             has experienced and is reasonably certain to experience in the future.

      •      Any disability or the loss of a normal life that Plaintiff Andersen has

             experienced and is reasonably certain to experience in the future.

      •      Any actual impairment of reputation, personal humiliation, mental

             anguish and suffering that Plaintiff Andersen has experienced and is

             reasonably certain to experience in the future.

      No evidence of the dollar value of physical or mental and emotional pain and

suffering, or disability, or loss of a normal life has been or needs to be introduced.

There is no exact standard for setting the damages to be awarded on account of these



                                         50
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 52 of 59 PageID #:41587




factors.   You are to determine an amount that will fairly compensate Plaintiff

Andersen for the injury he has sustained.




                                        51
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 53 of 59 PageID #:41588




      You have heard evidence of some of the Defendants’ finances in this case.

Under Illinois law, the City of Chicago is obligated to indemnify the Defendants and

pay for any compensatory damages awarded to Plaintiff Andersen.         You should

therefore not consider the Defendants’ financial condition in assessing compensatory

damages.




                                        52
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 54 of 59 PageID #:41589




      If you find for Plaintiff Andersen, you may, but are not required to, assess

punitive damages against any Defendant you have found liable. The purposes of

punitive damages are to punish a Defendant for his conduct and to serve as an

example or warning to Defendants and others not to engage in similar conduct in the

future.

      Plaintiff Andersen must prove by a preponderance of the evidence that

punitive damages should be assessed against a particular Defendant. You may

assess punitive damages only if you find that a particular Defendant’s conduct was

malicious or in reckless disregard of Plaintiff Andersen’s rights. Conduct is malicious

if it is accompanied by ill will or spite or is done for the purpose of injuring Plaintiff

Andersen. Conduct is in reckless disregard of Plaintiff Andersen’s rights if, under

the circumstances, a Defendant simply did not care about Plaintiff Andersen’s rights.

      If you find that punitive damages are appropriate, then you must use sound

reason in setting the amount of those damages. Punitive damages, if any, should be

in an amount sufficient to fulfill the purposes that I have described to you, but should

not reflect bias, prejudice, or sympathy toward any party. In determining the amount

of any punitive damages, you should consider the following factors:

      •      The reprehensibility of a Defendant’s conduct;

      •      The impact of Defendant’s conduct on Plaintiff Andersen;

      •      The relationship between Plaintiff Andersen and a Defendant;

      •      The likelihood that a Defendant would repeat the conduct if an award of

             punitive damages is not made;



                                           53
Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 55 of 59 PageID #:41590




     •     Defendant’s financial condition;

     •     The relationship of any award of punitive damages to the amount of

           actual harm Plaintiff Andersen suffered.




                                       54
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 56 of 59 PageID #:41591




       Upon retiring to the jury room, you must select a presiding juror.       The

presiding juror will preside over your deliberations and will be your representative

here in court. You may discuss the case only when all jurors are present.

       Forms of verdict have been prepared for you.

       [Forms of verdict read.]

       Take these forms to the jury room, and when you have reached unanimous

agreement on the verdict, your presiding juror will fill in and date the appropriate

form, and all of you will sign it.

       Advised the court security officer once you have reached a verdict. When you

come back to the courtroom, I will read the verdict aloud.




                                         55
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 57 of 59 PageID #:41592




       I do not anticipate that you will need to communicate with me. If you do need

to communicate with me, the only proper way is in writing. The writing must be

signed by the presiding juror, or, if he or she is unwilling to do so, by some other juror.

The writing should be given to the marshal, who will give it to me. I will respond

either in writing or by having you return to the courtroom so that I can respond orally.

If you do communicate with me, you should not indicate in your note what your

numerical division is, if any.




                                            56
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 58 of 59 PageID #:41593




      During your deliberations, you must not communicate with or provide any

information to anyone by any means about this case. You may not use any electronic

device or media, such as the telephone, a cell phone, smart phone, iPhone, Blackberry

or computer, the Internet, any Internet service, any text or instant messaging service,

any Internet chat room, blog, or website such as Facebook, LinkedIn, YouTube or

Twitter, to communicate to anyone any information about this case or to conduct any

research about this case until I accept your verdict. In other words, you cannot talk

to anyone on the phone, correspond with anyone, or electronically communicate with

anyone about this case. You can only discuss the case in the jury room with your

fellow jurors during the deliberations.




                                          57
 Case: 1:16-cv-01963 Document #: 887 Filed: 06/07/21 Page 59 of 59 PageID #:41594




      The verdicts must represent the considered judgment of each juror. Your

verdicts whether for or against the parties must be unanimous.

      You should make every reasonable effort to reach a verdict. In doing so, you

should consult with one another, express your own views, and listen to the opinions

of your fellow jurors. Discuss your differences with an open mind. Do not hesitate to

reexamine your own views and change your opinion if you come to believe it is wrong.

But you should not surrender your honest beliefs about the weight or effect of

evidence solely because of the opinions of other jurors or for the purpose of returning

a unanimous verdict.

      All of you should give fair and equal consideration to all the evidence and

deliberate with the goal of reaching an agreement that is consistent with the

individual judgment of each juror. You are impartial judges of the facts.




                                          58
